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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

                                    Eastern Division

 PENNYMAC LOAN SERVICES,
 LLC,

         Plaintiff,

 vs.
                                              Civil Action No. 2:19-CV-00193-KS-
 SITCOMM ARBITRATION                          MTP
 ASSOCIATION, MARK MOFFETT,
 SANDRA GOULETTE, RONNIE
 KAHAPEA, MARK JOHNSON,
 KIRK GIBBS, and ALARIC SCOTT,

         Defendants.


 PLAINTIFF PENNYMAC LOAN SERVICES, LLC’S RICO STATEMENT

        Plaintiff PennyMac Loan Services, LLC (“PennyMac”), pursuant to Local

Rule 83.8, respectfully submits the following RICO Statement in support of its

civil RICO claims against defendants Sitcomm Arbitration Association

(“Sitcomm”), Mark Moffett (“Moffett”), Sandra Goulette (“Goulette”), an Kirk

Gibbs (“Gibbs,” collectively with Sitcomm, Moffett, and Goulette, the “RICO

Defendants”), as set forth in the complaint (“Complaint”) (Dkt. No. 1):

        1.      State whether the alleged unlawful conduct is in violation of 18 U.S.C.

§§ 1962(a), (b), (c), and/or (d).

        The alleged unlawful conduct is in violation of 18 U.S.C. §§ 1962(c) and

(d).

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        2.      List each Defendant and state the alleged misconduct and basis of

liability of each Defendant.

        PennyMac alleges that the defendants that violated 18 U.S.C. §§ 1962(c) and

(d) are Sitcomm, Moffett, Goulette, and Gibbs. The alleged misconduct and basis

of liability against each of the RICO Defendants is as follows:

        As alleged in the Complaint, the RICO Defendants used wire and/or U.S.

mail or private or commercial carriers to transmit payments, correspondence, and

purported arbitration documents for the purpose of continuing their fraudulent

arbitration scheme, and/or knowingly, willfully, and unlawfully conspired to

facilitate an arbitration scheme, which included the operation or management of a

RICO enterprise through a pattern of racketeering activity. The RICO Defendants

conspired to divert money from PennyMac and third parties to their own benefit

via fraudulent arbitration awards. More specifically, PennyMac alleges, on

information and belief, that:

        Sitcomm:

        Sitcomm is the purported illegitimate arbitration company that markets itself

as an arbitration association for the “economically challenged” that has reduced

arbitration fees by “75% of their competitors [sic],” which, it claims, “is a sure

indicator that [it] cannot be bought by the person with the larger wallet.” In

reality, and as outlined by testimony elicited from Moffett in a separate action,

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Sitcomm is a sham arbitration organization that uses the guise of legitimacy to

market itself as an authorized and legitimate arbitration company to attract paying

customers and collect fees. After Sitcomm extracts an arbitration “fee” from these

customers, Sitcomm then issues fake exorbitant final arbitration awards against

various entities, despite no arbitration hearing having ever been held, no arbitration

provision existing that permits the parties to arbitrate their claims, and without

proper notice or an opportunity for any party to be heard.

        Sitcomm’s final arbitration awards consist of variations of a standard form

that fail to reference any basis for wrongdoing, or outline the claims asserted

against the various respondents. Instead, the Sitcomm “arbitrator,” after

conducting an arbitration “hearing” during which neither party is present,

concludes that the parties somehow formed a contract via a conditional acceptance,

to which the respondents somehow acquiesced. Sitcomm then instructs its paying

customers to attempt to enforce Sitcomm’s six and seven-figure arbitration awards

by filing petitions to confirm arbitration awards in various district courts

throughout the United States, including Mississippi, New Mexico, Virginia,

Oklahoma, and Texas, oftentimes despite none of the parties having any nexus to

the selected venue.

        PennyMac has been the victim of this scheme on at least two occasions.

PennyMac believes that the scheme is promulgated by an individual who goes by

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the username “EeoN” on YouTube. In a YouTube video1 posted on December 4,

2019, EeoN references Sitcomm and attempts to distinguish the acts of its

individual arbitrators, who he claims are independent contractors of Sitcomm, from

the acts of Sitcomm in conducting arbitrations. The purpose of the separation is to

avoid exposing Sitcomm to liability for allegations of collusion or fraud against

Sitcomm for these phantom “arbitrations” and fake “arbitration awards.”

        PennyMac alleges that the Sitcomm fraud scheme operates as follows:

        a. An individual consumer, usually a debtor, under guidance and instruction
           from Sitcomm, transmits a sequence of formal-looking documents
           (“Transmission”) over interstate U.S. mail, UPS or Federal Express,
           which include various “conditional” acceptances and “tacit” agreements,
           demanding that a creditor2 “prove its claim” that the debtor owes it
           money. These documents contain several “provisions” that state, if the
           creditor refuses to respond, or does not do so in accordance with the

1
  Accessible at
https://www.youtube.com/watch?v=Ulx35hO_fS0&feature=youtube.
2
  PennyMac is informed and believes that such creditor entities include, but are not
limited to, Albertelli Law; Ally Financial, Inc.; First Guaranty Home Mortgage;
First Guaranty Mortgage Corp.; BAC Home Loan Servicing, LP; Bank of America
Corporation; Bank of America NA; Cannae Holdings, Inc. f/k/a Fidelity National
Financial Ventures; Carrington Mortgage Services LLC; Dorchester County
Register of Deeds; Embrace Home Loans; Fay Servicing LLC; FCI Lender
Service, Inc.; Federal Home Mortgage Corporation; First Mortgage, LLC; Google;
Government National Mortgage Association; Imperial Industrial Supply Company
d/b/d Duramax Power Equipment and/or d/b/a Factory Authorized Outlets; JP
Morgan Chase Bank; J Stanley Claypoole; Lakeview Loan Servicing, LLC;
Lawrence & Walsh PC; Lima One Capital, LLC; Loancare, LLC; Mortgage
Electronic Registration System Inc.; Plaza Home Mortgage, Inc.; RoundPoint
Mortgage Servicing Corporation; Rushmore Loan Management Services; South
Carolina Secretary of State; Specialized Loan Servicing, LLC; US Bank NA;
Wells Fargo Bank N.A.; Wells Fargo Home Mortgage; and Wilmington Savings
Fund Society FSB.
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            terms set forth in the document, a new contract will be created – one that
            includes an arbitration provision, a forfeiture of certain rights and allows
            the fraudster to obtain a judgment;

        b. When the creditor does not respond to the Transmission, the debtor
           submits the matter to Sitcomm and pays Sitcomm a fee (usually around
           $500). Thereafter, Sitcomm or an employee, director or “arbitrator”
           working with Sitcomm issues a “Notice of Arbitration” and sends it to a
           creditor company over interstate U.S. mail, UPS, or Federal Express.
           The Notice of Arbitration references a date and time for an arbitration,
           but provides no location for the arbitration, no basis for the arbitration, no
           claims under which the arbitration is brought, and no other basic
           information that would allow the creditor to respond.

        c. After the date listed in the Notice of Arbitration has passed, Sitcomm or
           an employee, director or “arbitrator” working with Sitcomm issues a
           “Final Arbitration Award” which falsely implies that all parties to the
           arbitration participated and presented evidence at an arbitration hearing
           and the “arbitrator” issued a final multimillion-dollar award to the debtor.
           No arbitration is actually held and not even the debtor or the “arbitrator”
           participate.

        d. The debtor, under guidance and instruction from Sitcomm, then files a
           petition to confirm the arbitration award in a United States District Court
           in an attempt to reduce the multimillion-dollar award to an enforceable
           judgment.

        PennyMac alleges that Sitcomm does not provide proper notice of the

arbitrations to the respondents (the location of the phantom hearing is never

provided), does not actually conduct arbitrations, does not hear testimony or

evidence, and does not evaluate claims of the claimants. Moreover, Sitcomm

“conducts” these arbitrations in cases where there is no agreement to arbitrate

between the parties. Instead, Sitcomm sends false and vague notices of arbitration

to respondents that do not contain the actual location of the arbitration or the

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claims sought to be arbitrated and “conducts” arbitrations with the expectation that

no party will appear, thereby clearing an unobstructed path for Sitcomm and its

customers to reduce fake arbitration awards to judgment before the creditor

companies are able to appear and oppose the petitions seeking to confirm the

arbitration awards. The final arbitration awards contain numerous discrepancies

and purport to award the claimants hundreds of thousands or millions of dollars,

without identifying any specific wrongdoing or basis for the award.3

        Defendants Mark Johnson (“Johnson”) and Ronnie Kahapea (“Kahapea”)

are among Sitcomm’s customers. Kahapea paid Sitcomm to “conduct” an

arbitration and issue a multimillion-dollar arbitration award that Kahapea has

attempted to pass off as valid and legitimate by filing a Petition to Confirm

Arbitration award in a United States District Court. Johnson also paid Sitcomm to

“conduct” an arbitration and issue a multimillion-dollar arbitration award that




3
 As one court recently explained, the “purported arbitration awards are unlike any
other [the] court has ever seen.” U.S. Bank Nat’l Ass’n v. Nichols, No. 19-CV-
482-JED-FHM, 2019 WL 4276995, at *3 (N.D. Okla. Sept. 10, 2019). Reviewing
similar Sitcomm awards, two federal district courts have recently agreed that they
are “a bizarre jumble of inconsistent, nonsensical word salad” full of “legally
bizarre determination[s] contrary to hornbook contract law.” Kalmowitz v. Fed.
Home Mortgage Corp., et al., 2019 WL 6249298, at *1 (E.D. Tex. Oct. 22, 2019)
(quoting Nichols, 2019 WL 4276995, at *4), report and recommendation adopted
at 2019 WL 6249426 (E.D. Tex. Nov. 21, 2019). The Kahapea Arbitration Award
and Johnson Arbitration Award (as defined below) are no different.
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Johnson has attempted to pass off as valid and legitimate by filing a Petition to

Confirm Arbitration award in a United States District Court.

        In or about June 2019, Kahapea instituted an illegitimate arbitration

proceeding against PennyMac (the “Kahapea Arbitration”). On or about June 3,

2019, PennyMac received a notice of arbitration hearing (“Kahapea Notice”) from

Sitcomm by Priority U.S. Mail mailed from Laurel, Mississippi. The Kahapea

Notice purports to set an arbitration hearing for June 10, 2019 at 12:00 p.m. and

states that if a response is not received within ten days from receipt of the notice,

the “Arbitrator will presume your acceptance and may proceed to review the

supporting documentation electronically and issue a binding decision.” The

Kahapea Notice does not provide a location for the arbitration hearing. The

Kahapea Notice also does not indicate the nature of Kahapea’s grievances or

reference any claims asserted against PennyMac.

        On June 10, 2019, Moffett and Goulette issued a Sitcomm arbitration award

(the “Kahapea Arbitration Award”) at Laurel, Mississippi against PennyMac which

purports to award Kahapea $600,000 for “breach of the contractual agreement of

the parties” and $1,200,000 “as punitive damages under the treble damages

provision of the agreement for their admitted deceptive and fraudulent business

practices inherent in the loan and foreclosure racket and their breach of terms

agreed upon.” Pursuant to the Kahapea Arbitration Award, Sitcomm acted as the

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arbitration organization. The Kahapea Arbitration Award falsely implies that

PennyMac participated in the Kahapea Arbitration and presented evidence, when it

did not do so. PennyMac was not given any notice of the claims asserted against it

in the Kahapea Arbitration, did not receive any notice of where the phantom

arbitration would be held, and did not receive an opportunity to be heard.

        In or about October 2019, Johnson instituted an illegitimate arbitration

proceeding against PennyMac (the “Johnson Arbitration”). On or about October

10, 2019, PennyMac received a notice of arbitration hearing (“Johnson Notice”)

from Sitcomm by Priority U.S. Mail mailed from Laurel, Mississippi. The

Johnson Notice purports to set an arbitration hearing for October 21, 2019 and

states that if a response is not received within ten days from receipt of the notice,

the “Arbitrator will presume your acceptance and may proceed to review the

supporting documentation electronically and issue a binding decision.” The

Johnson Notice does not provide a location for the arbitration hearing. The Johnson

Notice does not indicate the nature of Johnson’s grievances or reference any claims

asserted against PennyMac.

        On October 21, 2019, Gibbs and Goulette issued a Sitcomm arbitration

award (the “Johnson Arbitration Award”) at Lilburn, Georgia against PennyMac

which purports to award Johnson $2,250,000 “as stipulated according to the terms

of the contractual agreement as agreed to by the parties.” The Johnson Arbitration

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Award falsely implies that PennyMac participated in the Johnson Arbitration and

presented evidence in that it states that:

        a. “The parties have agreed that a judgment of the court shall be entered,” p. 1;

        b. “An arbitration hearing was held on Date at which time the Arbitrator
           reviewed all contractual agreements and documentary evidence submitted by
           the parties in this matter” p. 3;

        c. “The Arbitrator fully considered . . . all the evidence,” p. 3;

        d. “[A]fter careful consideration of the evidence presented, this Arbitrators
           finds as follows . . .The arbitration hearing was held on October 21, 2019,”
           p. 4; and

        e. “[T]his Arbitrator finds that the amount stipulated to be paid to the Claimant
           is $2,250,000.00,” p. 5, among others.

           In early November 2019, Sitcomm mailed PennyMac a copy of the Johnson

Arbitration Award through the United States Postal Service from Laurel,

Mississippi.4




    4
4
   As further evidence of the Sitcomm scheme, PennyMac is aware of at least one
other individual, Carl Bourgeois (“Bourgeois”), who may also be involved with
Sitcomm. On or about July 1, 2019, Plaintiff received a notice of arbitration
hearing (“Bourgeois Notice”) from Sitcomm by Priority U.S. Mail mailed from
Laurel, Mississippi. The Bourgeois Notice purports to set an arbitration hearing
for July 9, 2019 and states that if a response is not received within ten days from
receipt of the notice, the “Arbitrator will presume your acceptance and may
proceed to review the supporting documentation electronically and issue a binding
decision.” The Bourgeois Notice provides no notice as to what claims are to be
arbitrated, where the arbitration will be held or the basis for the parties arbitrating
their claims. While Plaintiff is unaware of any actions filed by Bourgeois to date, it
anticipates that one may be filed in the near future.
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        Moffett:

        Moffett has been employed as an arbitrator with Sitcomm since in or about

July 2019. Moffett began working with Sitcomm after he assisted his sister,

Denise Brown5, in a similar case against Ally Financial Incorporated (“Ally”).

During a November 19, 2019 hearing on Brown’s motion to affirm and Ally’s

motion to vacate the arbitration award in question, Moffett provided detailed

testimony6 regarding Sitcomm’s arbitration scheme, as follows:

        a. Moffett began working as an arbitrator with Sitcomm in July 2019 after
           being involved with his sister’s case;

        b. He first became aware of Sitcomm after following Eeon online and
           watching his videos;

        c. Sitcomm awards are not valid in the United States and they say this in the
           documents. Instead, they are issued as foreign judgments;

        d. Awards are only valid after a court confirms them, and Sitcomm has had
           “quite a few” confirmed;

        e. Individuals make payments to a PayPal account for one of Sitcomm’s
           sister companies because PayPal froze Sitcomm’s account; and




5
  On April 20, 2018, Denise Brown filed a Complaint against Ally Financial
Incorporated (“Ally”), title Brown v. Ally Financial Incorporated, et al., Case No.
2:18-cv-00070-KS-MTP (Brown), alleging various causes of action including
violation of the Fair Debt Collection Practices Act.
6
  On December 10, 2019 in the Brown case, the Court issued a Memorandum
Opinion and Order and Order to Show Cause, denying Brown’s motion to compel
arbitration and vacating the purported arbitration award issued in her favor. The
Court also ordered Brown to show cause why she should not be sanctioned for
seeking confirmation of the alleged arbitration award.
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        f. Some of Sitcomm’s arbitrators were let go because they were not actually
           holding arbitration hearings for the matters they were involved in.

        On June 10, 2019, Moffett and Goulette issued the Kahapea Arbitration

Award at Laurel, Mississippi against PennyMac, after purportedly presiding over

the Kahapea Arbitration as a Sitcomm arbitrator.

        Goulette:

        Goulette is a director of Sitcomm. Goulette resides with Moffett and Denise

Brown in Laurel, Mississippi.

        On May 22, 2019, Goulette electronically signed the Kahapea Notice and

may have mailed it to PennyMac on behalf of Sitcomm. On June 10, 2019,

Moffett and Goulette issued the Kahapea Arbitration Award at Laurel, Mississippi

against PennyMac. Pursuant to the Kahapea Arbitration Award, Goulette acted as

a Sitcomm committee member in connection with the Kahapea Arbitration. On

June 12, 2019, Goulette, as a Sitcomm committee member, executed a document

certifying that Moffett created and executed the Kahapea Arbitration Award.

        On October 21, 2019, Gibbs and Goulette issued the Johnson Arbitration

Award at Lilburn, Georgia. Pursuant to the Johnson Arbitration Award, Goulette

acted as a Sitcomm committee member in connection with the Johnson Arbitration.

        Gibbs:

        Gibbs purports to be a Sitcomm arbitrator. On October 7, 2019, Gibbs

electronically signed the Johnson Notice and may have mailed it to PennyMac on

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behalf of Sitcomm. On October 21, 2019, Gibbs and Goulette issued the Johnson

Arbitration Award at Lilburn, Georgia. Pursuant to the Johnson Arbitration

Award, Gibbs presided as the arbitrator.

        3.      List the alleged wrongdoers, other than the Defendant(s) listed above,

and state the alleged misconduct of each wrongdoer.

        Johnson and Kahapea engaged in wrongdoing in that they hired Sitcomm to

conduct fraudulent arbitrations involving PennyMac. They are not currently

named as RICO Defendants.

        4.      List the alleged victims and state how each victim was allegedly

injured.

        PennyMac alleges it is the victim of the RICO scheme at issue. Specifically,

PennyMac has been damaged by being required to defend against the confirmation

of numerous illegitimate arbitration awards nationwide and forced to expend

resources to do so. Additionally, PennyMac has suffered damage to its business

interests and reputation as a result of the racketeering activity.

        5.      Describe in detail the pattern of racketeering activity or collection of

unlawful debts alleged for each RICO claim. A description of the pattern of

racketeering shall include the following information:

                a.          List the alleged predicate acts and the specific statutes which

were allegedly violated;

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        The RICO Defendants conducted and/or participated in and conspired to

conduct the affairs of the RICO enterprise by engaging in mail fraud and wire

fraud in furtherance of the unlawful scheme in violation of 18 U.S.C. §§ 1341 and

1343.

                b.          Provide the dates of the predicate acts, the participants in the

predicate acts, and a description of the facts surrounding the predicate acts;

        As further outlined above, relevant dates of the predicate acts include, but

are not limited to:

     May 22, 2019: Goulette electronically signs the Kahapea Notice and,
      thereafter, mails it to PennyMac on behalf of Sitcomm;

     In or about June 2019: Kahapea institutes the Kahapea Arbitration and
      presumably pays Sitcomm via wire transfer through PayPal to do so;

     On or around June 3, 2019: Sitcomm, via Priority U.S. Mail from Laurel,
      Mississippi, mails PennyMac the Kahapea Notice;

     June 10, 2019: Moffett and Goulette, acting on behalf of Sitcomm, issue the
      Kahapea Arbitration Award;

     June 12, 2019: Goulette, as a Sitcomm committee member, executes a
      document certifying that Moffett created and executed the Kahapea
      Arbitration Award;

     In or around June 2019: Sitcomm pays Moffett and Goulette via wire
      transfer for their roles in preparing the Kahapea Notice and Kohapea
      Arbitration Award;

     October 2019: Johnson institutes the Johnson Arbitration and presumably
      pays Sitcomm via wire transfer through PayPal to do so;

     October 7, 2019: Gibbs electronically signs the Johnson Notice and may
      have mailed it to PennyMac on behalf of Sitcomm;

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     On or around October 10, 2019: Sitcomm, via Priority U.S. Mail from
      Laurel, Mississippi, mails PennyMac the Johnson Notice;

     October 21, 2019: Gibbs and Goulette, acting on behalf of Sitcomm, issue
      the Johnson Arbitration Award;

     In early November 2019: Sitcomm mails PennyMac a copy of the Johnson
      Arbitration Award through the United States Postal Service from Laurel,
      Mississippi; and

     In or around November 2019: Sitcomm pays Gibbs and Goulette via wire
      transfer for their roles in preparing the Johnson Notice and Johnson
      Arbitration Award.

                c.          If the RICO claim is based on the predicate offenses of wire

fraud, mail fraud, or fraud in the sale of securities, the “circumstances constituting

fraud or mistake shall be stated with particularity.” Fed. R. Civ. P. 9(b). Identify

the time, place and contents of the alleged misrepresentations, and the identity of

persons to whom and by whom the alleged misrepresentations were made;

        PennyMac incorporates by reference its answer to paragraph (b) above.

                d.          State whether there has been a criminal conviction for violation

of the predicate acts;

        Upon information and belief, there has not been a criminal conviction for

violation of the predicate acts.

                e.          State whether civil litigation has resulted in a judgment in

regard to the predicate acts;

        Upon information and belief, civil litigation has not resulted in a judgment in

regard to the predicate acts.
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                f.          Describe how the predicate acts form a “pattern of

racketeering activity”; and

         The RICO Defendants, through the RICO enterprise, engaged repeatedly in

the racketeering activity set forth in PennyMac’s RICO claims in the Complaint

throughout 2019, and beginning as early as early 2018, the date of initiation of the

Brown v. Ally Financial Incorporated, et al., Case No. 2:18-cv-00070-KS-MTP

litigation involving Moffett’s sister, the case in which he testifies as to the details

of Sitcomm’s general scheme. The predicate acts described herein are, on

information and belief, just a few examples of Sitcomm’s use of the mail and wire

transfers to effectuate their overall scheme.7




7
  PennyMac has located the following actions, filed in various courts, which appear
to involve the same or a substantially similar fraudulent scheme that is being
perpetrated by the RICO Defendants in this action:

    o Grant v. Bank of America, N.A., 8:19-cv-01977 (C.D. Cal.);
    o Brown v. Ally Financial Inc., 2:18-cv-70 (S.D. Miss.);
    o Imperial Industrial Supply Co. v. Thomas, 2:19-cv-129 (S.D. Miss.);
    o Teverbaugh v. Lime One Capital, LLC, No 2:19-mc-159 (S.D. Miss.);
    o Kahapea v. PennyMac Loan Services, LLC, 1:19-mc-28 (D.N.M.);
    o Campbell v. FCI Lender Service, Inc., 1:19-cv-02368 (E.D.N.Y.);
    o US Bank NA v. Nichols, 19-cv-482 (N.D. Okla.);
    o Bruce v. Wilmington Savings Fund Society, 2:18-cv-02555 (D.S.C.);
    o Kalmowitz v. Federal Home Mortgage Corp., 6:19-mc-00010 (E.D. Tex.);
    o Meekins v. Lakeview Loan Servicing, LLC, 3:29-cv-00501 (E.D. Va.);
    o Hosea v. Dimon, et al., 2:19-mc-00034 (E.D. Va.);
    o Johnson v. PennyMac Loan Services, LLC, 3:19-cv-00837-DJN (E.D. Va.);
      and
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                g.          State whether the alleged predicate acts relate to each other as

part of a common plan. If so, describe in detail.

        The alleged predicate acts relate to each other as part of and in furtherance

of a common plan to perpetrate the arbitration scheme alleged herein with respect

to Sitcomm, through which Sitcomm and its arbitrators and directors receive

compensation to conduct fraudulent arbitrations, including the Kahapea and

Johnson Arbitrations.

        6.      Describe in detail the alleged enterprise for each RICO claim. A

description of each enterprise shall include the following information:

                a.          State the names of the individuals, partnerships, corporations,

associations, or other legal entities, which allegedly constitute the enterprise;

        The RICO enterprise which was engaged in and the activities of which

affected interstate commerce, is comprised of an association in fact consisting of

Sitcomm, acting as the arbitration association, Goulette, acting as a director of

Sitcomm, and Gibbs and Moffett acting as arbitrators of Sitcomm.

                b.          Describe the structure, purpose, function and course of conduct

of the enterprise;




    o Cannae Holdings v. Innovated Holdings, Inc., 19Sl-CC01658 (St. Louis Cir.
      Court).


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        The RICO enterprise at issue has an organizational structure, whose purpose

is to generate income by conducting fraudulent arbitrations, and, thereafter,

attempting to enforce those arbitration awards through use of the courts so as to

obtain payment of arbitration awards from third party entities such as PennyMac.

                c.          State whether any Defendants are employees, officers or

directors of the alleged enterprise;

        On information and belief, Goulette is director and/or officer of Sitcomm

and Gibbs and Moffett are employees of Sitcomm.

                d.          State whether any Defendants are associated with the alleged

enterprise;

        Defendants Sitcomm, Moffett, Goulette, and Gibbs are directly associated

with the enterprise and Kahapea and Johnson are either directly or indirectly

associated with the enterprise.

                e.          State whether you are alleging that the Defendants are

individuals or entities separate from the alleged enterprise, or that the Defendants

are the enterprise itself, or are members of the enterprise; and

        Sitcomm, Goulette, Moffett, and Gibbs are alleged members of the

enterprise. Sitcomm operates as a separate entity, and Goulette, Moffett, and

Gibbs are separate individuals. The enterprise exists independently from the

racketeering activity.

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                f.          If any Defendants are alleged to be either the enterprise itself

or members of the enterprise, explain whether such Defendants are perpetrators,

passive instruments, or victims of the alleged racketeering activity.

        As described above, the RICO Defendants are alleged to be perpetrators of

the alleged racketeering activity. It is unclear whether Kahapea and Johnson are

perpetrators, passive instruments, or victims. Accordingly, they are not named as

RICO Defendants.

        7.      State whether you are alleging that the pattern of racketeering activity

and the enterprise are separate or have merged into one entity. In either event,

describe in detail.

        PennyMac alleges that the pattern of racketeering activity (i.e. mail and wire

fraud) and the enterprise (i.e. the scheme of conducting fake arbitrations and

issuing fraudulent arbitration awards) are separate, though related, as described in

more detail above.

        8.      Describe the alleged relationship between the activities of the

enterprise and the pattern of racketeering activity. Discuss how the racketeering

activity differs from the usual and daily activities of the enterprise, if at all.

        Upon information and belief, Sitcomm acts under the guise of being a

legitimate arbitration association, complete with directors and arbitrators. The

racketeering activity involves the transmission of fraudulent arbitration documents

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and transfer of payments from Sitcomm clients to Sitcomm-controlled accounts

and from Sitcomm-controlled accounts to the Sitcomm arbitrators and/or other

agents. It is unclear what Sitcomm’s usual and daily activities consist of other than

perpetuating the fraudulent arbitration scheme.

        9.      Describe what benefits, if any, the alleged enterprise receives from the

alleged pattern of racketeering.

        The enterprise receives compensation in the form of payments from

individuals who retain Sitcomm to resolve disputes with third parties such as

PennyMac.

        10.     Describe the effect of the activities of the enterprise on interstate or

foreign commerce.

        The activities of the RICO Defendants consist of numerous and repeated use

of the interstate mails and wire communications to execute a scheme to defraud,

resulting in the members of the enterprise obtaining payments and/or compensation

as part of the scheme. Upon information and belief, the RICO enterprise at issue

has further impacted interstate and foreign commerce by perpetrating the same

scheme to defraud in connection with other, non-party lenders and creditors

throughout the United States.

        11.     If the complaint alleges a violation of 18 U.S.C. § 1962(a), provide

the following information:

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                a.          State who received the income derived either from the pattern

of racketeering activity or through the collection of an unlawful debt; and

                b.          Describe the use, investment or locus of such income.

        The Complaint does not allege a violation of 18 U.S.C. § 1962(a).

        12.     If the Complaint alleges a violation of 18 U.S.C. § 1962(b), describe

in detail the acquisition or maintenance of any interest in or control of the alleged

enterprise.

        The Complaint does not allege a violation of 18 U.S.C. § 1962(b).

        13.     If the complaint alleges a violation of 18 U.S.C. § 1962(c), provide the

following information:

                a.          State who is employed by or associated with the enterprise; and

                b.          State whether the same entity is both the liable “person” and

the “enterprise” under § 1962(c).

        PennyMac alleges that Sitcomm, Gibbs, Goulette, and Moffett are employed

by or associated with the enterprise. The same entities and individuals are not both

the liable “person” and the “enterprise” under 18 U.S.C. § 1962(c). Rather, each

entity and individual are separate and distinct from one another.




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        14.     If the complaint alleges a violation of 18 U.S.C. § 1962(d), describe in

detail the alleged conspiracy.

        PennyMac alleges that at all relevant times, Sitcomm and Goulette were

associated with the enterprise alleged herein and in the Complaint, and agreed and

conspired with Gibbs and Moffett to perpetrate the racketeering activity alleged

herein and in the Complaint involving the deceptive scheme to conduct fraudulent

arbitrations, in furtherance of which numerous materials were to be sent, mailed or

transmitted using interstate mails and/or wire communications, including but not

limited to the Kahapea Notice, the Johnson Notice, the Kahapea Arbitration

Award, and the Johnson Arbitration Award, as well as payments sent by Kahapea

and Johnson to Sitcomm-controlled accounts to “conduct” the arbitrations, and

payments sent by Sitcomm to Gibbs, Moffett, and Goulette to administer and/or

oversee the arbitrations.

        15.     Describe the direct causal relationship between the alleged injury and

the violation of the RICO statute.

        By reason of and as a result of the racketeering activity alleged herein and in

the Complaint, PennyMac has been injured by being required to defend against the

confirmation of the Johnson Arbitration Award and the Kahapea Arbitration

Award and has been compelled to expend resources to affirmatively act to prevent

the attempted confirmation of any future fraudulent awards. PennyMac has also

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been injured in the damage to its publication that has resulted from the public filing

of fake arbitration awards.

        16.     List the actual damages for which Defendant is allegedly liable.

        PennyMac alleges that the RICO Defendants are liable to PennyMac for

actual damages consisting of the total amount spent to defend against the

confirmation of the Johnson Arbitration Award and the Kahapea Arbitration

Award, initiate and continue the instant proceedings, and investigate the

underlying scheme.

        17.     List all other federal causes of action, if any, and provide citations to

the relevant statute(s).

        The Complaint alleges an eighth claim for vacation of the fraudulent

Kahapea Arbitration Award and the Johnson Arbitration Award under

9 U.S.C. § 10.

        18.     List all pendent state claims, if any.

        The Complaint additionally alleges claims for: (1) declaratory judgment,

(2) injunctive relief, (3) libel, (4) tortious interference with contract, and (5) civil

conspiracy.

        19.     Provide any additional information that you feel would be helpful to

the Court in considering your RICO claim.




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        PennyMac does not believe there is currently additional information not

already provided in this statement and in the Complaint that would be helpful to

the Court in considering PennyMac’s RICO claim.

        DATED: December 31, 2019.

                                              RESPECTFULLY SUBMITTED,

                                           /s/ Cheryl S. Chang
                                           Cheryl S. Chang
                                           Harris F. Powers III
                                           Steven C. Cookston

                                           Upshaw, Williams, Biggers &
                                           Beckham, LLP
                                           309 Fulton Street
                                           Post Office Drawer 8230
                                           Greenwood, MS 38935-8230
                                           Telephone No.: 662-455-1613

                                           Counsel for Plaintiff

                                           Cheryl S. Chang (admitted pro hac
                                           vice)
                                           Nicole Bartz Metral (admitted pro hac
                                           vice)
                                           Jessica A. McElroy (pro hac vice
                                           pending)

                                           BLANK ROME LLP
                                           2029 Century Park East, 6th Floor
                                           Los Angeles, California 90067-2907
                                           Telephone: 424.239.3400
                                           Facsimile: 424.239.3434

                                           Counsel for Plaintiff



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